Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 1 of 19

neA (ofncial Fo]-m eA) (12/0'1) '

In re Juan R. Carri|lo, Case No.

 

Caro|ina Carrillo

 

Debtors
SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which die debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor‘s own benefit. If the debtor is married, state Whether busband, Wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled “Husband, Wife, Joint, or Coinmunity." If the debtor holds no interest in real property, write "None" under
“Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Uncxpil'ed Leascs.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured clailn. See Scbedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." lf the debtor is an individual or
if a joint petition is tiled, state the amount of any exemption claimed in the properly only in Schedule C - Property Claiined as Exeinpt.

 

Husband, Clll'l'cnt Value of

Nature of Debtor'S Wife, Debtor S Interest m Amount of

Description and Loca.tion of Property Property, without

 

 

Interest in Property Joint, or Deductin Secured Claim
- g any Secured
Commumty Claim or Exemption
Residence at 7893 Bracken Parkway, Hobart, lN Tenants by Entireties J 180,000.00 184,715.00
Sub-Total > 180,000.00 (Total of this page)
Total > 180,000.00

0 continuation sheets attached to the Schedule of Real Property (Repol_t also On Sulmnal_y of Schedu]es)

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Case 15-23342-k|

B()B (Ofl'lcial Fonn GB) (lZ/U'.")

Juan R, Carri||o,
Caro|ina Carri||o

In re

 

Debtors

Doc 8 Filed 10/26/15 Page 2 of 19

Case No.

 

SCHEDULE B - PERSONAL PR()PERTY

Except as directed below, list all personal property of the debtor of whatever kind. lf the debtor has no property in one or more of die categories, place
an "x" in the appropriate position in the column labeled "None." lf` additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category, lf` the debtor is married, state whether husband, wif`e, both, or the marital community
own the property by placing an "H," "W,“ "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If` the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Clairned as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule List them in Schedule G - Executory Contracts and

Unexpired Leases.

If the property is being held for the debtor by Someone else, state that person's name and address under "Description and Location of Property."
lf` the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child’s nalne. See, ll U.S.C. §112 and Fed. R. Bankr. P. l()O'?(m).

 

 

N Husband, Current Value of
Type cf Property g Description and Location of` Property Hi:`f’ cr DE?;§LSO£]%;B§;;§H;!Y;YW’
E Community Secured Claim or Excmption
l. Cash on hand X

` -Checl<ing,~_savings or other financial
accounts, certificates of deposit, or '=' _
shares i_n banks, savings and loan, , 1 ,, v 1 _

thritt, building and loan, a`nd` __ ' , »-*-.= . »
homestead associations, or credit ‘~.. -,_ l l - ' ` '
unions, brokerage houses, or
cooperativesl

_C|;lase Bank, Checking

"F \‘i` -:~'-."l.‘ ` l

sr

Security deposits With public
utilities, telephone companics,
landlords, and others.

Household goods and furnishings, Household furniture & appliances
including audio, vidco, and

computer equipmentl

Books, pictures and other art
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

Wearing apparel Wearing apparel

Purs and j ewelry.

Firearms and sports, photographic,
and other bobby equipment

Interests in insLu'ancc policics.
Name insurance company of each
policy and itemize surrender or
refund value of each.

Annuities. ltelnize and name each
issuer.

l().

2 continuation sheets attached to the Schedule of Personal Properly

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H 10.00
- 1 ,100.00
- 400.00
Sub-Total > 'l ,5‘| 0.00
(Total of this pa ge)

Besl Case Bankruptcy

Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 3 of 19

BéB (Official Form GB) (12.'07) - Cont.

In re Juan R. Carrillo, Case No.

 

Carolina Carril|o

 

DebtorS
SCHEDULE B - PERSONAL PROPERTY

(Continu ation Sheet)

 

Husband, Current Value of
Wii`e, Debtor's lnterest in l’roperty,
Joint, or without Deducting any

Community Secured C]aim or Exelnption

 

N

Type of Property § Description and Location of Property
E
X

ll. lnterests in an education IRA as
defined in 26 U.S,C. § 530(b)(l) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars ` (File separately the
record(s) of _any such interest(s).

ll U.S.C. § 521(c).)

12. Interests in LRA, ERISA, Keogh, or X
other pension or profit sharing
plans. Give particulars

13. Stock and interests in incorporated X
and unincorporated businessesl
Itemize.

14. interests in partnerships or joint X

ventures. ltcmize.

15. Government and corporate bonds X
and other negotiable and
nonnegotiable instruments

16. Accounts receivable X

l7. Alimony, inaintenance, support, and X
property settlements to which the
debtor is or may be entitled. Givc
particulars

13_ Oth¢r ijqui(|ated deth Owed to debtor 2015 Earned lncome Credit J Notice.'Unknown
including tax refunds. Give particulars

19. Equitablc or future interests, life X
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent X
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Othcr contingent and unliquidated X
claims of` every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff clairns.
Give estimated value of each.

 

Sub-Total > 0.00
('I`otal of this page)

Sheet 1 of 2 continuation sheets attached

to the Schedulc of Personal Property

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 4 of 19

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In re Juan R. Carrilio, Case No.

 

Carolina Carri|lo

 

Debtors
SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

 

N Husl_)and, Qurrent Val_ue of
Type of I’roperty § Description and Location of Property }§i]rt;:’er Del;:§{];£§ree§;;§n;r;§;rty‘
E Community Secured Clailn or Exemption
22. Patents, copyrights and other X
intellectual property. Give
particulars
23. Licenses, franchises and other X
general intangibles Give
particulars

24. Customer lists or other compilations X
containing personally identifiable
information (as defined in ll U.S.C.
§ 101 (41A)) provided to the debtor
by individuals in connection with

‘.f»'. obtai"wing a product or service Iii'om - l,_ , w
"the eti'tor primarily for personal, eng .\ ssi il ' ga `_‘-'r - »"
family, or household purposes ,

se

"t\ 1_ " "' ‘=»

 

25, Aufomobiles, trucks, trailers, and 2008 Cl`|eVl'Oth Subl.ll'bal'| LS Wltl'l 130,000 miles H 13,26300
other vehicles and accessories
_ w 26. Boats, motors, and accessories X
27.-` lrl`iirdrafl; and accessories ' .- X
w if _"'"¥ ', re
28. Oftice equipment, furnishings, and X
supplies
29. Macliinery, flxtures, equipmcnt, and X
supplies used in business,`
t30. Invcntoiy. c l X ¢. -». z
3]. Anilnals. _ X l - "°”
32. Crops - growing or harvested. Give X o 4'
particulars m
?l,
3_3. F aiming equipment and X
" ".‘.implcments.
34. Fariil supplies chemicals and feed. X `- _ ;_. ' =" 123 _ .' __,\l ¢:“
35. osha-personal property army kind MiSG- lawn equipment ' ' = 5_»¢;_ J 200.00
not already listed. ltcniizc.
Sub-Total > 13,463.00
(Total of this page)
Total > 14,973.00
Sheet 2 of 2 continuation sheets attached
m the Schedule Of P'~"i`SO“Bl PTOP@T’CY (chort also on Suinmary of Schedules)

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 5 of 19

136€ (ofn¢ial ram 6c) (4/13)

ln re Juan R. Carri|lo,
Carolina Carri|lo

 

Debtol‘s

Case No.

 

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to Which debtor is entitled under:

I:I Check if debtor claims a homestead exemption that exceeds

ChGCl{ OUC bOX $15 5,6';'5. (Arnoimt subject to adjustmem on 4/!/] 6, and ever three ears !hel"eqffsr'
y y
with r'especl so cases conwaenceci' on or' after the date ofacij"rtrtmeni.)

|;l 11 U.s.C. §522(b)(2)
l 11 U.S.C. §522(b)(3)

 

 

 

 

 

 

. . - Value of Current Value of
.- ~ . . Specify Law Providmg . .
Descl 1pt10n of Pio e - Claimed Property Wlthout
p my Each Exemptmn Exemption Deducting Exemption
Rea| Pror._)erty
Residence at 7893 Bracken Parkway, Hobart, |N |ncl. Code § 34-55-10-2(6)(1) 35,200.00 180,000.00
Cheeking, Savinqs. or Other Flnancia| Accounts, Certificates of Deposit
Chase Bank, Checking lnd. Code § 34~55-10-2(¢::)(3) 10.00 10.00
Household Goods and Furnishings
Househo|d furniture & appliances lnd. Code § 34~55-10-2(c)(2} 1,100.00 1,‘|00.00
Wearlng Apparel
Wearing apparel lnd. Code § 34-55-10-2(¢}(2) 400.00 400.00
Other Liguidated Debts Owing Debtor lne|uding Tax Refund
201 5 Earned income Credit lnd. Code § 34-55-10-2(c)(10) ALL Notice)'Unknown
Other Personal Propertv of Anv Kind Not A|readv Listed
Misc. lawn equipment lnd. Cocle § 34-55-10-2(c)(2) 200.00 200.00
Total: 36,910.00 181,710.00

0 continuation sheets attached to Schedule of Property Claimed as Exempt
Soitware Ccpyrlghl (c) 1996-2014 - Besl Case, LLC -www.bestcase.com

Best Case Bankmptcy

Case 15-23342-l<|

BGD (Official Fcrm 6D) (l2¢'07)

In re Juan R. Carri|io,

Carolina Carrillo

 

D ebtors

Case No.

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SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address including zip code, and last fo\.u‘ digits of any account number cf all entities holding claims secured by properly of the debtor as of
the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments statutoiy liens, mortgages deeds cf trust, and

other security interests

List creditors in alphabetical order to the extent piacticable. lf a minor child is a creditor, the child's initials and thc name and address of the child's parent or
guardian, such as "A.B., a minor child, by .lohn Do e, guardian." Do not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. ]007(1n), lf all secured
creditors will not tit on this page, use the continuation sheet provided

lf any entity other than a spouse in a joint case may be jointly liable on a claiin, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
schedule of creditors and complete Schedule H - Codebtors. If a joint petition is liled, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an “H", "W", "J", or "C" in the column labeled "l-lusband, Wife, loirit, or Comrnunity".

H" the claim is contingent, place an "X" in the column labeled "Contingent". lt` die claim is Luiliquidated, place an "X" in the column labeled "Unliquidated". lf the
claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of diesc three coluinns.]

Total the columns labeled "Ainount of Claim Without Deductiug Value cf Collateral" and "Unsecured Portion, if Any" iii the boxes labeled "Total[s)" on the last
sheet of the completed schedule choi't the total from the column labeled "Ai'nount of Claim" also on die Sumniary of Schedules aiid, if the debtor is an individual with
primarily consumer debts, report the total from the column labeled "Unsecured Poi'tion" on the Statistical Summary of Certain Liabilities and Re|ated Data.

l:l Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C Husband. W|fe. .lolnl. or Communlly C U D AMOUNT OF
REDITO ' 0 0 N l
AN?) MAILH§{GSF§]¥LEESS § H DATE CLAM WAS INCURRED» § t § WC};{~“§`(I)L{[]T UNSECURED
AND ACCOUNT NUMBE’R T .l DESCRIPTION AND VALUE N U T VALUE OF ANY
S . . 0 C OF PROPERTY G ' E
( ee instructions above.) R SUBJECT TO LIEN § 2 5 COLLATERAL
Accoumi\io. 45002-1103-cc-0161 5-04-2011 T §
o
Midland FunclingiBeneficial Finance Judgme“t '-ie“
8875 Aem Drive R 'denc at 7893 Bracken Parkway
. esi e ,
San Diego, CA 92123 J Hobart] |N
Value $ 180,000.00 14,715.00 4,715.00
Account No.
Bowman Heintz Boscia & Vician
8605 Broadway Midland Fundingieeneficiai Finance Notice only
N|erril|vi|le, |N 46410
Value $
Account No.
Lake County Clerk
45D02»1103~CC-0161 Midland Fundinngeneficia| Finance Notice Only
3711 Main St.
East Chicago, |N 46312
Value $
Account No. 4113!20‘13
Totai Finance Ac, i_Lc Venicle financing
3400 N. Pu|aski Rd.
Chicago |L 60641 2008 Chevrolet Suburbarl LS Wit.h
’ H 130,000 miles
Value $ 13,263.00 20,000.00 6,737.00
Subtotal
1 continuation sheets attached , 34,715.00 11,452.00
_ (Total of this page)

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Case 15-23342-k|

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ln re Juan R. Carrillo, Case NO,
Caroiina Carri||o
Debtors
SCHEDULE D - CREDITORS H()LDING SECURED CLAIMS
(Continuation Sheet)
CREDITOR|S NANIE g Husband¢ Wife. Joint, chommun|ty g g |D AMOUNT OF
AND MAILING ADDRESS § H DA¥A%%*§§AOV§§EI§C£§§ED’ ¥ ,L § W(I:§“§§)%T UNSECURED
lNCLUDING ZIP CODE, B W DESCR]PTION AND ’VALUE l Q U DEDUCTING PORTION, IF
AND AcCoUNT NUMBER T J N “ T VALUE or ANY
. , 0 g OF PROPERTY G l E
(See mstructions.) R SUB_]ECT TO LlEN § 2 D COLLATERAL
Account No. xxxxxxxxxXXXX 2006 T §
o
We|ls Fargo Home Mortgage M°"tgage
Attn; Bankruptcy Dept. _
Resldence at 7893 Bracken Parkway
MAC #D334_7-0‘l4 H Hobart |N ’
3476 Statevlew B|vd. ’
Fol't N|i|l, SC 29715
Value $ 180,000.00 170,000.00 0.00
Account No.
Value $
Account No.
Value $
Account No.
Value $
Account No.
Valuc $
Sheet 1 of 1 continuation Sheets attached to S'zbtowl 170’000_90 0_00
Scliedule of Creditors Holding Secured Claims (TOW] Of fills Pag°)
Total 204,715.00 11 ,452.00

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(Report on Sunirnary of Schedules)

 

 

 

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 8 of 19

BGE (Official For'm 6E) (4/13)

In re Juan R. Carri||o, Case No.
Carolina Carrl||o

 

 

Debtors
SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of pr'iority, is to be set forth on the sheets provided Only holders of unsecured claims entitled
to priority should be listed in this schedule in tlre boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
continuation sheet for each type of priority and label each with the type of priority.

The complete account number of ally account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
so. lf a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's naine. See, ll U.S.Ci §l 12 and Fed. R. Bankr. P. lOU'?(ni}.

lf any entity other than a spouse in a joint case may be jointly liable on a claiin, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule I-l-Codebtors. li" a joint petition is liled, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, loint, or Coinmunity." lf the claim is contingent, place an "X" in the
column labeled "Contingent." lf the claim is turliquidated, place an "X" in the column labeled "Unliquidated." lf the claim is disputed, place an "X" in the column labeled
“Disputed." (You may need to place an "X" in more than one of these three coluinns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet Repor't the total of all claims listed on this Schedule E in the box labeled
"Total" on the last sheet of the completed schedule Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each slreet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. lndividual debtors with primarin consumer debts report this total
also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts n_ot entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet Report the total of all amounts not entitled to
priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedulel lndividual debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data.

l:l Checl< this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRI()RI TY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

L__l Domestic support obligations

Clairns for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in ll U.S.C. § 507(a)(]).
l:l Extcnsions of credit in an involuntary case

Clairns arising in the ordinary course of the debtor"s business or financial affairs after the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief ll U.S.C. § 507(a}{3).
[| Wagcs, salaries, and commissions

Wages, salaries, and cominissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $12,475* per person carried within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred lirst, to the extent provided in ll U.S.C. § 507(&1)(4).
I] Contributions to employee benefit plans

Money owed to employee benefit plans l` or services rendered within 180 days inmiediately preceding the filing of the original petition, or the cessation of business,
whichever occurred iir‘st, to the extent provided in ll U.S.C. § 507(a)(5].
l:l Certain farmers and fishermen

Clairns ol" certain fanners and iishermen, up to $6,150‘* per farmer or iisherman, against the debtor, as provided in ll U.S.C. § 507(a)(6).

[:l Deposits by individuals
Clairns of individuals up to $2,7'75* for deposits for the purchase, ]ease, or rental of property or services for personal, farnj.ly, or household use, that were not
delivered or provided ll U.S.C. § 507(a)(7).

l Taxes and certain other debts owed to governmental units
'l`axes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in ll U.S.C. § 507(a)(8).

l:l Cornmitmcnts to maintain the capital of an insured depository institution

Clairns based on commitments to the FDIC, RTC, Dn'ector of the Off_ice of "[liriit Supervision, Comptmller of the Cuir'ency, or Board of Governors of the F ederal
Reser've_ System, or their predecessors or successors, to maintain the capital of an insured depository institution ll U.S.C. § 507 (a)(9).

l:l Clairns for death or personal injury while debtor was intoxicated

Clairns for death or personal injury resulting from the operation oi` a motor vehicle or vessel while the debtor was intoxicated from using alcolrol, a drug, or
another substancc. ll U.S.C. § 507(a)(10).

* Amolmf subject fo aff/fl.l‘frilerl[ 011 4/0]/16, amf every three years thereafter with respect m cases comriienced on or aji‘el‘ the dale of adjustment

'l continuation sheets attached

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Case 15-23342-k|

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In re Juan R. Carrillo, Case No.
Carolina Carri[|o
Debtcrs
SCHEDULE E - CRE])ITORS H()LDING UNSECURED PRIORITY CLAIMS
{Continuation Sheet)
Taxes and Certain Other‘ Debts
Owed to Governmenta[ Units
TYPE OF PRIORITY
CREDITOR,S NAME, 3 Husbanc.Wife,Jc|ntothmnrunlty g H lD §NH¥§SDNVJ
A§%¥[§%%GZ§PY§§§S § :'V DATE CLAIM WAS mCURRED ri § § AMOUNT PRJORITY, 1FANY
= AND CONSIDERATION FOR CLAIM OF CLAIM
AND ACCOUNT NUMBER g J § |U § AMOUNT
(See instructions.) R C § § D ENTithE)I?iiS
Account No. T §
lndiana Department of Revenue
Barrkruptcy Section - NlS 108 265'00
indiana Government Center North _
100 North Senate Avenue, N240
|ndianapo|is, |N 46204
265.00 0.0(}
Account No.
internal Revenue Service
P.o. sex 7346 °-°° i
Philadelphia, PA 19101-7346 _
0.00 0.00
Account No.
IRS lnsolvency Group 3
575 N- P€nn$ylval'lia ' MA|LSTOP |nterna| Revenue Service Notice On|y
SBSBU
Indianapo[is, lN 46204
Account No.
U.S. Attorney's Office y
5400 F€del'a| PlaZa, Sfe- 1500 |nterna| Revenue Service Notice Only
Hammond, IN 46320
Account No.
Shcct 1 of 1 continuation sheets attached to S‘ibt°tal 265.00
Schcdule of Creditor's Holding Unsecured Priority Clairns (T‘)ml Of this Page) 265.00 0.00
Total 265.00 l
(Report on Summary of Schedules) 265.00 0.00

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 10 of 19

BGF (Oi"ficial Form GF) (121‘07)

In re Juan R. Carri|lo, Case No.

 

Carolina Carrillo

 

Debtors
SCHEDULE F - CREDITORS HOLDING UNSECURED NGNPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
tinstee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by Jolm Doe, guardian." Do not disclose the child's name See, l] U.S.C. §112 and Fed. R. Bankr. P. lO(}"/'(m). Do not
include claims listed in Schedules D and E. lf all creditors will not iit on this page, use the continuation sheet provided

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the colurrnl labeled "Codebtor," include the entity on the appropriate
schedule of creditois, and complete Schedule H - Codebtors. If a joint petition is i'iled, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, .loint, or Community,"

If the claim is contingent, place an "X" in the column labeled "Contingent," If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total ct` all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summaly of Certain Liabilities and Rclatcd Data.

i:i Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR\S NAME’ g Husbaod, Wtfe. Jo|nt, orCommunity g H ||J
MI`§§JI§NH$GA§§%%SDSE § \'jv DATE cLAIM WAS iNcuRREo AND 'T‘ .L §
’ B CONSIDERATION FOR CLAIM. IF CLAIM l 0 _U
(See mstiuctlons above.) R c E D §
N A
AccountNo. xxxxxxxxx8570 Credit Card T §
o
7th Avenue
1112 Tth Ave. J
Nlonroe, W| 53566-1364
520.98
AccountNo. xxxxBOOO Education
||Iinois Student Assistance Commission
Po sex 235 J
Deerfield, |L 60015
16,655.99
Account No.
Account No.
0 r a 1 t va h d Submml 17176 97
con inua on s ice s a c e (Total Ofthis pagc) , .
Total
(Report on Summary of Schedulcs) 17’176'97

 

 

 

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 11 of 19

BtiG (Ofiicial Form 6G) (12)'07)

In re Juan R. Carri||o Case No. 14-20487
Debtor

 

SCHEI)ULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests State nature
of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described lf a minor child is a party to one of the leases or conu'acts,
state the child's initials and the name and address of the child*s parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not

disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. l007(rn),
l Check this box if debtor has no executory contracts or unexpired leases.

 

DescriSption of Contract or_ Lease and Nature of Debtor’s Interest.
tate Whether lease is for nonresidential real property.
State contract number of any government contract

Name and Mailing Address, including Zip Code,
of Other Parties to Lease or Contract

 

continuation sheets attached to Schedule of Executory Contracts and Unexpircd Lcases
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son (omeial ram 61-1) minn

In re Juan R. Carrillo Case No. 14-20487
Debtor

SCHEDULE H - CODEBTORS

Providc the infonnation requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, Califomia, ldaho, Louisiana, Nevada., New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or tenitoly. lnclude all names used
by the liondebtor spouse during the eight years immediately preceding the commencement of this case. lfa minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(111).
l Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

continuation sheets attached to Schedule of Codebtors
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Best C.ase Banto'uptcy

Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 13 of 19

Flll in this information to identify your case:

Debtor 1 . Juan R. Carrillo

 

Debtor 2 Carolina Carri|lo
(Spouse, if illing)

 

United States Bankruptcy Court for the: NORTHERN DlSTR|CT OF |ND|ANA

 

Case number Check ii this is:
f"l<“°~""l lIl An amended filing

l:i A supplement showing post-petition chapter
13 income as of the following daie:

 

 

 

OfflClEll l:Orm B 6| m
Schedule |: Your lncome 12113

Be as complete and accurate as possib|e. lt two married people are filing together {Debt0r1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. lt you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 

 

 

information.
if you have more than one job, - Employed - Emp|oyed
attach a separate page With Empl°ymellt StatUS m n
information about additional NOT- em pmi/ed NOi employed
em |o ers. _ _

p v Occupatlon N|echamg Homemaker
include part-time, seasonall or l
self-employed work. Empi°yel` 5 name Ve|asquez Muff|ers

 

Occupation may include student Employer's address

. . . 16021 S. Kedzie Ave.
or hom emal<er, ll lt applies.

N|arkham, IL 60428

 

How long employed there? 7 months
Give Details About Monthly income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, Write $O in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. lt you need
more space. attach a separate sheet to this form. '

 

List monthly gross wages, salary, and commissions {before all payroll

 

 

 

2- deductions). lf not paid monthly, calculate what the monthly Wage Would be. 2- $ 1»966-47 $ 0'00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 1,966.47 $ _ 0.00

 

 

 

 

 

Ofiicial Form B 61 Schedule I: your Income page l

Case 15-23342-|<| Doc 8 Fiied 10/26/15 Page 14 of 19

centum Juan R. Carriiio

Debior 2 Caro|ir|a Carri[|o Case number (llknown)

copy line 4 here 4. $ 1,966.47 $ ` ' 0.00
5. List all payroll deductions:
5a. Tax, illiedicare, and Social Security deductions 53. $ 373,00 $ D.OO
5b. Marlciatory contributions for retirement plans 5b. $ O.DO $ 0.00
5c. Voiuntary contributions for retirement plans 5c. $ U.OD $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5c. insurance 5c. $ 0.00 $ 0.00
St. Domestic support obligations 5i. $ 0.00 $ 0.00
Sg. Union dues 59- $ 0.00 $ 0.00
Sh. Other deductions Speoify: 5h.+ $ 0.00 + $ 0.00
Add the payroll deductions Add lines 53+5b+5c+5d+5e+5f+5g+5h. 6. $ 373.00 $ O.DD
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1,593.47 $ 0.00
8. List all other income regularly received:
Sa. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. Ba. $ 0.00 $ D.OO
Bb. interest and dividends Bb. $ 0.00 $ 0.00
Bc. ' Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance divorce
settlementl and property settlement 80. $ 0¥00 $ 0.00
Bd. Llnem ployment compensation Bd. 3 0.00 $ 0.00
Be. Social Security 3€- $ U.DD $ 0.00
Bf. Other government assistance that you regularly receive
include cash assistance and the value ('lf l<nown) of any non-cash assistance
that you receive, such as food stamps (beneiite under the Supp|emental
Nutrition Assistance Program) or housing subsidies 7
Speoify: Bi. $ 0.00 $ 0.00
BQ. Pension or retirement income _ Bg. $ 0.00 $ 0.00
sh. other monthly income. spnniry; side jth ah.+ $ 1,000.00 + $ 0.00
9. Add all other income. Add lines Ba+Bb+Sc+Bd+Be+Bi-l-Bg+Bh. 9. $ 1,000.00 $ 0.00
10. Calculate monthly income. Add line 7 + line 9. 10. $ 2,593.47 + 5 0.00 = $ _2,593.47
Add the entries in line 10 for Dei:itor 1 end Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your househoid, your dependents your roommates, and
other friends or reiatives.
Do riot include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scheduie J.
Speoify: ’l'l. +$ 0.00_
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statisil'cal Summary of Certar'n Liatliil'tles and Reiated Data, if it
applies $ M
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form'?
l No.
l:| Yes. Exp|aln: l
Ofi`rcia] For.rn B 61 Schedule I: Your Income page 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Fiii in this information to identify your case:

 

 

 

 

 

D€bi;t)i"i Juan R_ Carril[g Ci`lEle if ill'liS iS`.

|:| An amended filing
Debtor 2 Caro|ina Car¢-[|[o |:| A supplement showing post-petition chapter
[Spouse, if filing) 13 expenses as of the following deter
Unlted States Bankruplcy Court for that NORTHERN DiSTRiCT OF iND|ANA iViiVi f DD l YYYY
Case number ' |:| A separate filing for Debtor 2 because Debtor
(lf known) 2 maintains a separate household

 

 

Officiai Form B GJ
Schedu|e J: Your Expenses eng

 

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Househo|d
1. is this a joint case?
l:i No. Go to line 2.
l Yes. Does Debtor 2 live in a separate household?
- No
i:l Yes. Debtor 2 must file a separate Scheduie J.

2. Do you have dependents? |:| NO

 

 

 

 

 

DO riot list Debtor 1 l Yes Fiii out this information for Dependent’s relationship to Dependent’s Does dependent
and Debtor 2_ ` each dependent.............. Debtor 1 or Debtor 2 age live with you?
Do not state the l:l NO
dependents names. Daughter 6 l Yes
i:i No
Son 8 l Yes
l:i No
Son 14 l yes
i:i No
Son ‘l 6 l Yes
3. Do your expenses include l NO

expenses of people other than
yourself and your dependents?

lm`Estimate Your Ongoing Nlonthly Expenses __
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

ij Yes

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Scheduie i: Your income
{Official Form 6|.)

 

 

4. The rental or home ownership expenses for your residencel include first mortgage
payments and any rent for the ground or iot. 4. $ 0.00

 

if not included irl line 4:

 

 

 

 

4a Reai estate taxes 43. $ 0.00
4b. Property, homeowner’s, or renter's insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 40. $ 0.00
4d. Homeowner’s association or condominium dues 4d. $ [)_00
5. Additionai mortgage payments for your residence, such as home equity loans 5. $ 0_00

 

Officiai Form B 6.] Schedule J: Your Expenses page 1

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Debtor‘l Juan R. Carrilio

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 Caro[ina Carri|lo Case number{if known}
6. Utilities:

6a. Electricity, heat1 natural gas 63. $ 100.00

6b. Water, sewer, garbage collection Bb. 3 25,00

60. Teiephone. cell phone, lnternet, satellite, and cable services 6c. $ 160,00

6d. Other. Speoify: Gd. $ 0,00
7. Fooc| and housekeeping supplies 7. $ 40{)_00
B. Childcare and children’s education costs 8. $ D.OO
9. Ciothing, laundry, and dry cleaning 9. $ 20.00
10. Personal care products and services 10. $ 0.00
11. Nledica| and dental expenses 11. $ D,OO
12. Trans ortation. include as, maintenancel bus or train fare.

Do notpinclude car payme§nts. 12‘ $ 100-00
13. Entertainrnent, C|ubs, recreation, newspapers, magazines, and books 13. $ O,DO
14. Charltab|e contributions and religious donations 14. $ 0,00
15. insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Hea|th insurance 15b. $ 0.00

150. Vehicle insurance 15c. $ 121 .37

15d. Other insurance Speoify: 15d. $ 0_00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Speoify: 16. $ 0_00
17. installment or lease payments:

17a. Car payments for Vehic|e 1 17a. $ [)_00

17b. Car payments for Vehiele 2 17b. $ 0_00

170. Other. Speoify: 1Tc. $ 0_00

17d. Other. Speoify: 17d. $ 0_00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule i, ‘r'our income (Official Form 6|). 18- $ 0'00
19. O'ther payments you make to support others who do not live with you. $ 0_00

Speoify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Yourincome.

20a lillortgages on other property 20a $ 0_0[)

20b. Real estate taxes 20b. $ 0_00

20c. Property, homeownersl or renter's insurance 20c. $ 0_[)0

20d. i'\liaintenance, repairl and upkeep expenses 20d. $ 0,00

20e. Homeowner's association or condominium dues 20e. $ 0,00
21. Other: Speoify: ' 21. +$ 0.00
22. Your monthly expenses. Add lines 4 through 21. 22. $ 926.37

The result is your monthly expenses. ' _'_
23. Caiculate your monthly net income.

23a. Copy line 12 (your combined monthly lncome) from Schedule l. 23a $ 2,593.47

23b. Copy your monthly expenses from line 22 above. 23b. -$ 926.37

230. Subtract our monthl ex enses from our monthl income.

The result is your nlo$r{ttr'?l';rz net income.y y 239- $ 1’667'10

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For examp|e, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?

- No.

 

l:l Yes.
Explain:

 

 

 

Officia| Form B BJ Schedule J: Your Expenses page 2

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B6 Summary (Ol"flcial Form 6 - Summary) (l?.f]¢i)

United States Bankruptcy Court
Northern District of Indiana

In re Juan R. Carrillo, Case No.
Carolina Carrillo

 

 

Debt()l'g Chapter 1 3

SUMMARY ()F SCHEDULES

lndicate as to each schedule whether that schedule is attached and State the number of pages in cach. Report the totals from Schedulcs A,
B, D, E, F, I, and .l in the boxes provided Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets

Add thc amounts of all claims from Schedulcs D, E, and F to determine the total amount of the debtor’s liabilities lndividual debtors must
also complete the "Statistical Summary of Certain Liabilities end Rclatod Data" if they tile a case under chapter 7, ll, or 13.

 
  
    
    

   

  
  
 

ATTACHED
(YES/N O

NO. OF
SHEETS

1

  
  

     

NAME OF SCHEDULE ASSETS LIABILITIES

   

   
   
  
  

Yes 130,000.00

 

A - Real Property

      
 
 
 

  

Yes

 

B - Personal Propcrty 14,973-00

    
   

\'es

 

C ~ Propcrty Claimcd as Excmpt

      
  
 
  
  
     
  
 
   
  
    
     
  
 

  

Yes

 

D - Creditors Holding Sccurcd Clairns 204,715.00

      

E - Creditors Holding Unsecured
Priority Clairns from of claims on schedule E)

   

Yes 265.00

  

       

F - Creditors Holcling Unsecurcd
Nonpriority Clairns

Yes

   

17,176.97

  

    

G - Executory Contracts and
Unexpired Lea.ses

Yes

Yes

   

I-I - Codcbtors

       

l - Currcnt Incorne of Individual
Debtor(s)

     

Yes 2,593.47

 

  

    

J - Currcnt Expcnditurcs of Individual
Debtor(s)

926.37

Total Number of Sheets of ALL Schcdulcs

Total Asscts 194»973-00

222,156.97

  

Total liabilities

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 18 of 19

B 6 Summaly (Ofticial Form 6 - Sulrunary) (12,'1 4)

United States Bankruptcy Court
Northern District of Indiana

In re Juan R. Carrlllo, Casc No.
Carolina Carrillo

 

 

Debtorg Chapter 1 3

STATIS'I`ICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § lOl{S) of the Bankruptcy Code (ll U.S.C.§ lOl(S)), filing
a case under chapter 7, ll or 13, you must report all information requested below.

l:l Check this box if you are an individual debtor whose debts are NOT primarily consumer debts You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarizc the following types of liabilities, as reported in the Scheduies, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of Liabilit_y Amount
Domcstic Support Obligations (fi'om Schedule E) O_OO
Taxcs and Ccltain Othcr Deth Owed to Govemmental Units 265 0 0
(l`rorn Schedule E) '
Claims for Dcath or Pelsonal injury While Debtor Was intoxicated 0 00
(frorn Schedule E) (whethcr disputed or undisputed) '
Student l.oan Obligations (l`rom Schedule F) 16,655.99
Domcstic Support, Scparation Agreement, and Divorce Decree 0 00
Obligations Not chorted on Schedule E '
Obligations to Pension or Proiit-Sha.ri.ug, and Othel‘ Siln_ilar Obl_igaticns 0 00 M`
(from Schedule F) '
TOTAL 16,920.99
State the following:
Averagc ]ncomc (from Schedule l, Linc 12) 2,593.47
Avcragc Expenses (i`rom Schedule .l, Line 22} 926.37
Currcnt Monthly Incomc (from Form 22A-l Line ll; OR,
ram 22a pine 14; oR, Form 220~1 Line 14 ) 1'965-47

 

 

 

Stnte thc fo

1. Total from Schedule D, “UNSECURED POR'l`lON, lF ANY"
column

2. Total from Schedule E, "AMOUNT EN'l`ITLED TO PRIORITY"
column

3. 'l`otal from Schedule E, "AMOUNT NOT ENTITLED TO

11 ,452.00

PRIOR]TY, l.F ANY" column 265.00

4. Total from Schedule F 17,176.97

5. Total of` non-priority unsecured debt (sum of l, 3, and 4) 28,893.97

 

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Case 15-23342-|<| Doc 8 Filed 10/26/15 Page 19 of 19

136 Deelslration (Ol`i`ieial Form 6 - Declaration). [12f07)

United States Bankruptcy Court
Northern District of Indiana

Juan R. Carril|o `
1“1`5 Carolina Carri||o Case No.
Debtor(s) Chapter 1 3

 

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERIURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that l have read the foregoing summary and schedules, consisting
of 17 sheets, and that they are true and correct to the best of my knowledge, information and beliei`.

/'O,_/L{, 15 :L,.______:P_) Q.~.h\i&
_ l

Signature

 

Date

 

Juan R. Carri||o
Debtor

me io')¢i~i§ Signawre pda/lipman OMNLC>
Carolina Carri|[o
Joint Debtor

Penaltyfor making afalse Stfatement or concealing property Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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